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 5                           UNITED STATES DISTRICT COURT
 6                         SOUTHERN DISTRICT OF CALIFORNIA
 7
 8     NICOLE VANEGAS,                                      Case No. 23-cv-74-MMA (WVG)
 9                                       Plaintiff,
                                                            ORDER GRANTING JOINT
10     v.                                                   MOTION TO DISMISS
11     DISCOVER BANK,                                       [Doc. No. 12]
12                                     Defendant.
13
14          Plaintiff and Counter-Defendant Nicole Vanegas and Defendant and Counter-
15    Claimant Discover Bank jointly move to dismiss this action in its entirety pursuant to
16    Federal Rule of Civil Procedure 41(a). See Doc. No. 12. Upon due consideration, good
17    cause appearing, the Court GRANTS the parties’ joint motion and DISMISSES the
18    action in its entirety, with all claims by Plaintiff Vanegas against Defendant Discover
19    Bank being dismissed with prejudice, and all claims by Counter-Claimant Discover Bank
20    against Counter-Defendant Vanegas being dismissed without prejudice. Each party shall
21    bear their own attorney’s fees and costs. The Court DIRECTS the Clerk of Court to
22    terminate all pending deadlines and motions, and to close this case.
23          IT IS SO ORDERED.
24    Dated: June 13, 2023
25                                                     _____________________________
26                                                     HON. MICHAEL M. ANELLO
                                                       United States District Judge
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